    Case 2:21-cv-00534-MLCF-JVM
      Case  2:17-cv-08128-KDE-DEK Document
                                   Document21-3 Filed08/29/17
                                            5 Filed   06/04/21 Page
                                                                Page1 1ofof2 27




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA



ELIZABETH SEWELL, ET AL.,                     )
                                              )
                                              )
                     Plaintiffs               ) CIVIL ACTION NO. 17-8128
VERSUS                                        )
                                              )
SEWERAGE & WATER BOARD OF                     ) SECTION “N” (3)
NEW ORLEANS,                                  )
                                              )
             Defendant                        )
                                              )


                     PLAINTIFFS’ MOTION TO SEVER & REMAND

       NOW INTO COURT, through undersigned counsel, come Plaintiffs, Elizabeth Sewell, et

al., who pursuant to 28 U.S.C. §§ 1367(c), 1447(c) and Federal Rules of Civil Procedure

14(a)(4) and 21, file this Motion to Sever and Remand. As set forth in the accompanying

Memorandum in Support, Plaintiffs have set forth legal and factual bases for this Court to

decline to exercise supplemental jurisdiction over Plaintiffs’ claims against the Defendant

Sewerage and Water Board of New Orleans (“SWB”), sever Plaintiffs’ claims against the SWB

from the SWB’s third party claims against the Contractors, and remand Plaintiffs’ claims against

the SWB to state court. Thus, Plaintiffs respectfully request that the Court grant Plaintiffs’

Motion.

                                            Respectfully submitted:

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    Case 2:21-cv-00534-MLCF-JVM
      Case  2:17-cv-08128-KDE-DEK Document
                                   Document21-3 Filed08/29/17
                                            5 Filed   06/04/21 Page
                                                                Page2 2ofof2 27




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                                            ATTORNEYS FOR PLAINTIFFS



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of August 2017, I served a copy of the foregoing on

all counsel of record by filing through the Court’s CMECF e-filing system.


                                              /s/ Alexis A. Butler




                                                   2
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page13ofof23
                                                                          27




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA



ELIZABETH SEWELL, ET AL.,                      )
                                               )
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                     Plaintiffs                ) CIVIL ACTION NO. 17-8128
VERSUS                                         )
                                               )
SEWERAGE & WATER BOARD OF                      )
NEW ORLEANS,                                   )
                                               ) SECTION “N” (3)
             Defendant                         )
                                               )


 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO SEVER & REMAND


       MAY IT PLEASE THE COURT:

       Plaintiffs, Elizabeth Sewell, et al., (“Plaintiffs”), respectfully submit this Memorandum in

Support of their Motion to Sever and Remand. For the following reasons, the Court should: (1)

decline to exercise supplemental jurisdiction over Plaintiffs’ claims against the Defendant

Sewerage and Water Board of New Orleans (“SWB”), (2) sever these claims from the SWB’s

third party claims against the Contractors (i.e., Cajun Constructors, LLC, B&K Construction Co.,

LLC, and Boh Bros. Construction Co., LLC), and (3) for the second time, remand the claims

back to state court where Plaintiffs originally filed their claims against the SWB well over two

years ago, so that Plaintiffs may finally have their day in Court after years of suffering in

properties damaged by the SWB’s SELA Project.

       I.             SUMMARY OF ARGUMENT

       The Court should decline to exercise supplemental jurisdiction over Plaintiffs’ claims

against the SWB and sever and remand these claims to state court, as the SWB should not be

permitted to impose further delay and prejudice to Plaintiffs by alleging already-dismissed
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page24ofof23
                                                                          27




claims against the Contractors, claims that are certain to result in a pattern of removal, remand,

and removal between federal and state courts.

         Plaintiffs’ numerous state law constitutional and tort claims are independent of the

SWB’s third party claims arising from contractual obligations, and as the history of this case

proves, each set of claims can be resolved without reliance on common legal or factual issues.

As further proof that Plaintiffs’ claims should proceed independently of the SWB’s third party

claims, the third party claims have already been dismissed and will be dismissed again, leaving

no legitimate basis for federal jurisdiction and no reason for Plaintiffs to litigate their claims

alongside the third party claims.

         Fairness is served by granting this Motion, as Plaintiffs have waited well over two years

to have their day in court and should not be deprived of the January 2018 trial setting in state

court. Judicial economy is served too because granting this Motion will prevent the further and

unnecessary expenditure of resources by the Court, followed by the inevitable remand to state

court.

         Finally, the SWB should not be permitted to manipulate the forum for Plaintiffs’ claims

by continually re-alleging meritless claims against the Contractors, and the granting of this

Motion will ensure that the SWB’s third party claims pose no further prejudice or delay to

Plaintiffs in this litigation.

         II.             FACTUAL & PROCEDURAL BACKGROUND

                 A.      Factual Background

         The Court is undoubtedly aware of the factual allegations and background of this case,

thus Plaintiffs will only provide a quick summary on the relevant information. Plaintiffs’ claims

against the SWB arise from the significant damages wreaked to properties located in the




                                                     2
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page35ofof23
                                                                          27




“Uptown” neighborhood of New Orleans, as a result of the construction of the SWB’s Southeast

Louisiana Urban Drainage Project (“SELA Project” or “Project”). Plaintiffs are comprised of

almost 250 homeowners and business owners who have been damaged by the SWB’s Project.

       The SELA Project is a joint local-federal project administered and funded by the SWB

and the U.S. Army Corps of Engineers (the “Corps”), with the stated purpose of addressing

severe rainfall and resultant flooding in the New Orleans area. Pursuant to various agreements

between the SWB and Corps, the SWB acts as the “local sponsor” of the SELA Project and in

this role: (1) provides 35% of the funding for the Project, (2) is responsible for the design of the

Project, (3) is involved in the administration and construction of the Project, and (4) is required

to resolve property damage claims caused by the Project. The SWB and the Corps hired the

Contractors to carryout a significant portion of the construction of the Project.

       The current phases of the SELA Project involve years-long construction on the major

avenues of the Uptown neighborhood – namely, South Claiborne, Jefferson, Napoleon, and

Louisiana. The Project adversely affects Plaintiffs’ properties in the Uptown areas adjacent to

and nearby the construction and construction-related activities.              Some Plaintiffs have

experienced the damages and disturbances of the SELA Project construction since as far back as

2011 and many, if not all, continue to suffer to date as a result of the Project.

               B.      Procedural Background

                         1. Plaintiffs’ Claims Filed in State Court

       Well over two years ago, in May 2015, Plaintiffs filed the original Petition against the

SWB in state court, the Civil District Court for the Parish of Orleans, alleging ongoing property

and related damages caused by the SELA Project. (R. Doc. 1-2, Case No. 15-3117). These




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      Case
       Case2:21-cv-00534-MLCF-JVM Document 5-1
            2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                                 Filed08/29/17
                                                       06/04/21 Page
                                                                 Page46ofof23
                                                                            27




claims raised purely state law claims of inverse condemnation, strict liability, and negligence.

Id.

        In response to Plaintiffs’ claims, the SWB brought third party claims against the

Contractors, alleging indemnification, subrogation, and breach of contract. (R. Doc. 1-3, Case

No. 15-3117). Plaintiffs never filed claims against the Contractors because the SWB is the sole

government entity liable to Plaintiffs for SELA Project damages and because the Contractors

enjoy immunity from such claims as federal contractors.         Plaintiffs easily reached these

conclusions based upon the SWB’s contractual obligations for the Project and the legal precedent

of Holzenthal v. Sewerage and Water Board of New Orleans, 950 So. 2d 55 (La. App. 4th Cir.

1/10/07), and Shimon v. Sewerage and Water Board of New Orleans, 2010 WL 2696970 (E.D.

La. July 1, 2010). Despite the SWB’s extensive experience with prior SELA Project litigation

and contrary to the very contracts it signed for the SELA Project, the SWB continues to attempt

to impose liability on the Contractors for SELA Project damages.

                         2. The First Removal of the Case

        Because of the federal contractor immunity defense raised by the SWB’s third party

claims against the Contractors, in July 2015, the Contractors removed the case, including

Plaintiffs’ claims against the SWB to this federal Court, the U.S. District Court for the Eastern

District of Louisiana (“Federal Court”). (R. Doc. 1, Case No. 15-3117). When the case was

removed for the first time to this Court, Plaintiffs immediately filed a motion to sever and

remand. (R. Doc. 7, Case No. 15-3117). The motion was denied, and Plaintiffs were forced to

litigate their claims alongside the SWB’s third party claims against the Contractors, causing

delay and distraction from resolving the Plaintiffs’ claims.




                                                      4
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page57ofof23
                                                                          27




       This Court issued the Discovery Scheduling Order (“DSO”) to govern expedited

discovery, mediations, and pretrial deadlines. (R. Doc. 156, Case No. 15-3117). The Court also

set a trial of Plaintiffs’ claims for June 2016. (R. Doc. 128, Case No. 15-3117). Recognizing the

distinction between the Plaintiffs’ claims and the SWB’s third party claims, this Court ordered

that each type of claim proceed on a separate discovery tract. (R. Doc. 156, Case No. 15-3117).

Under the DSO, the Plaintiffs and SWB proceeded with discovery in groups of 20 Plaintiffs at a

time and made significant progress in exchanging written discovery, conducting home

inspections, preparing expert reports, and taking depositions. The DSO also ordered mediation

of Plaintiffs’ claims in these same groups of 20, with the first mediation scheduled to take place

in December 2016. Id.

       At the same time, the SWB and Contractors engaged in extensive discovery, including

written discovery totaling tens of thousands of pages and numerous days of depositions, in

preparation for addressing the Contractors’ immunity defense.        The SWB and Contractors

submitted lengthy briefing and participated in multiple oral arguments before this Court. After

numerous months of litigating the federal contractor immunity defense, on December 21, 2016,

this Court issued its written Order & Reasons, granting the Contractors’ motions for summary

judgment on the federal contractor immunity defense and dismissing the SWB’s third party

claims against the Contractors with prejudice. (R. Doc. 397, Case No. 15-3117).

       Thereafter, this Court issued a final Judgment, (R. Doc. 403, Case No. 15-3117), and the

SWB appealed the Court’s ruling to the U.S. Court of Appeals for the Fifth Circuit. The SWB

and Contractors have submitted appellate briefing to the Fifth Circuit. On August 28, 2017, the

Fifth Circuit issued its decision affirming this Court’s dismissal of the SWB’s third party claims

against the Contractors. (R. Doc. 00514135655, U.S. 5th Cir. Ct. App. Case No. 17-30089).




                                                    5
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page68ofof23
                                                                          27




                         3. Remand of the Case

         On January 5, 2017, the Federal Court remanded the remaining claims – that is,

Plaintiffs’ claims against the SWB – to state court. (R. Doc. 405, Case No. 15-3117). Plaintiffs

sought to remain in this Court because of the momentum created by the Court’s DSO. Plaintiffs’

concerns about losing momentum were realized when the Court remanded Plaintiffs’ claims back

to state court prior to trial and before mediation could be enforced against the SWB, which

unilaterally cancelled the first mediation at the last minute. If the case had remained in this

Court, then at least mediation would have been attempted and possibly successful, but if not, the

first trial of Plaintiffs claims would already have been completed and, Plaintiffs reasonably

believe, the SWB would have been ordered to provide the long-awaited financial relief to those

trial Plaintiffs and a path would have been paved for resolution of Plaintiffs’ claims on a global

basis.

         Once Plaintiffs’ claims were back in state court, Plaintiffs had to wait almost six months

for a judicial assignment following judicial election and runoff.         Thereafter, fortunately,

Plaintiffs’ claims against the SWB were back on track to proceed towards resolution. The first

trial of five Plaintiffs’ claims was set for January 8, 2018, and pursuant the Case Management

Order (“CMO”) issued by the state court, the Plaintiffs produced discovery responses and issued

discovery requests, subpoenas, and notices of depositions. Just last week, Plaintiffs submitted

their expert reports.

         In November 2016, while this case was still in this Court, Plaintiffs filed a motion to

amend the complaint to simply add additional named-plaintiffs, and no new legal claims, but the

Court did not resolve this motion prior to remand.           (R. Doc. 358, Case No. 15-3117).

Accordingly, once the case was remanded, Plaintiffs re-filed this motion in state court, which




                                                      6
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page79ofof23
                                                                          27




was granted, and the Fourth Supplemental and Amending Petition was filed into the Court

record. (R. Doc. 1-1). In response, the SWB filed its Answer and Third Party Demand to the

Fourth Supplemental and Amending Petition. (R. Doc. 1-2).

       The SWB’s Third Party Demand contains no viable claims against the Contractors who,

as this Court and now the Fifth Circuit have determined, enjoy immunity from the SWB’s

claims. The SWB erroneously bases these claims on its belief that this Court’s dismissal of the

Contractors only applies to damages sustained by the Plaintiffs through June 16, 2016, the date

of Plaintiffs’ Third Amended and Supplemental Complaint. Id. at p. 14. This Court’s Order &

Reasons placed no temporal limitations on its ruling that the Contractors were immune to the

SWB’s claims. (R. Doc. 397, Case No. 15-3117).

       Since the Plaintiffs’ Original Petition against the SWB, the Plaintiffs have alleged

continuing violations of constitutional and tort laws, as well as continuing damages caused by

the SWB’s SELA Project. See (R. Doc. 1-1). At no time have Plaintiffs alleged a specific date

on which they sustained damages or when their damages ceased to exist. See id. Even if

Plaintiffs had alleged a specific date on which they suffered damages (which Plaintiffs do not),

any such date is irrelevant to whether the Contractors enjoy immunity from the SWB’s

contractual, indemnity, and subrogation claims. Thus, it appears that the SWB is utilizing its

newest third party claims simply as a delay strategy, as it was certain that the Contractors would

remove the case to this Court after the SWB raised the claims, whether the claims are viable or

not, in an effort to obtain a duplicate ruling from this Court on federal contractor immunity.

                         4. The Second Removal of the Case

       In an effort to avoid another removal and thus, delay of discovery, motion practice, and

trial, Plaintiffs quickly contacted counsel for the Contractors and asked that they wait to file




                                                     7
   Case
    Case2:21-cv-00534-MLCF-JVM
          2:17-cv-08128-KDE-DEK Document
                                Document21-3  Filed08/29/17
                                         5-1 Filed  06/04/21 Page
                                                             Page810
                                                                   ofof
                                                                     2327



removal papers until Plaintiffs could file a motion to sever in state court. Plaintiffs immediately

filed their motion for severance in state court and moved for and were granted an expedited

hearing by the state court in order to accommodate the Contractors’ removal deadline.

Unfortunately, the Contractors decided to move forward with removal prior to the hearing on

Plaintiffs’ motion to sever, and Plaintiffs’ claims were removed to this Court, along with the

SWB’s third party claims, for a second time on August 22, 2017. (R. Doc. 1). The state court

has agreed, in light of this removal and Plaintiffs’ challenge to removal, to hold the January 2018

trial date until resolution of the present Motion.

        The procedural history of this case demonstrates that removal of Plaintiffs’ claims along

with the SWB’s third party claims poses serious delay and prejudice to Plaintiffs in obtaining

relief from the SWB. Given that this Court has already ruled, after extensive discovery, briefing,

and hearings, that the Contractors enjoy federal immunity from the SWB’s Third Party Claims,

and the Fifth Circuit affirmed this ruling on appeal, it is evident that the SWB’s strategy is purely

to delay resolution of Plaintiffs’ claims and potentially to try to get a second bite at the apple on

the federal contractor immunity defense.

        Plaintiffs attempted to avoid this removal and the resultant delay and prejudice that has

and will result therefrom, but Plaintiffs’ efforts failed and now Plaintiffs ask this Court to decline

to exercise supplemental jurisdiction over Plaintiffs’ purely state law claims, and sever and

remand these claims back to state court so that Plaintiffs, after years of delay, may finally have

their claims tried at the January 2018 trial set by the state court.

        III.            THE   COURT    SHOULD    DECLINE   TO   EXERCISE
                        SUPPLEMENTAL JURISDICTION OVER PLAINTIFFS’ CLAIMS
                        & SEVER & REMAND THESE CLAIMS

                A.      The Court Should Decline to Exercise Supplemental Jurisdiction Over
                        Plaintiffs’ Claims



                                                        8
    Case
     Case2:21-cv-00534-MLCF-JVM
           2:17-cv-08128-KDE-DEK Document
                                 Document21-3  Filed08/29/17
                                          5-1 Filed  06/04/21 Page
                                                              Page911
                                                                    ofof
                                                                      2327




                          1.       Law on Supplemental Jurisdiction

        The Contractors removed this case pursuant to 28 U.S.C. § 1442(a)(1), which confers

jurisdiction over claims against the federal government, including contractors with the federal

government. It is undisputed that Plaintiffs’ purely state law claims against the SWB, a local

state entity, do not give rise to federal jurisdiction; only the SWB’s third party claims against the

Contractors contain a basis for federal jurisdiction.

        Thus, the only possible basis for the Court’s jurisdiction over Plaintiffs’ claims against

the SWB is the doctrine of supplemental jurisdiction, 28 U.S.C. § 1367(a).1 However, and

critical to the present Motion, Section 1367, subsection (c) allows a district court to “decline to

exercise supplemental jurisdiction over a claim” where:

                 (1) the claim raises a novel or complex issue of State law;
                 (2) the claim substantially predominates over the claim or claims
                     over which the district court has original jurisdiction,
                 (3) the district court has dismissed all claims over which it has
                     original jurisdiction, or
                 (4) in exceptional circumstances, there are other compelling
                     reasons for declining jurisdiction.

        This Court previously determined that “§ 1367(c) grants the district court the discretion

to decline supplemental jurisdiction if it determines that one of the four enumerated

circumstances are present.” See Crocker v. Borden, Inc., 852 F.Supp. 1322, 1328 (E.D. La.

1994). In reaching a decision on supplemental jurisdiction, the district court “shall bear in mind

the considerations of judicial economy, convenience, and fairness to the litigants….” Id. at

1329; see also Enochs v. Lampasas Cnty., 641 F.3d 155, 159 (5th Cir. 2011); Shimon v.

Sewerage & Water Bd. of New Orleans, 2007 WL 4414709, at *2 (E.D. La. Dec. 14, 2007).


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           Plaintiffs do not concede the Court has subject matter jurisdiction over their claims against the SWB and
reserve the right to challenge jurisdiction.




                                                              9
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page10
                                                                   12ofof23
                                                                          27




          “ ‘If the plaintiff has attempted to manipulate the forum, the court should take this

behavior into account in determining whether the balance of factors to be considered under the

pendent jurisdiction doctrine support a remand in the case.’ ” Target Strike, Inc. v Marston &

Marston, Inc., 2011 WL 2618609, at *5 (W.D. Tex. June 30, 2011) (quoting Carnegie-Mellon

Univ. v. Cohill, 484 U.S. 343, 350 (1988) ).

          In Crocker v. Borden, Inc., 852 F.Supp. 1322, this Court previously addressed whether it

should exercise supplemental jurisdiction over state law claims in in the principal demand when

the case was removed based upon federal officer removal jurisdiction arising from the third party

claims.     In considering the factors under Section 1367(c), the Court declined to exercise

supplemental jurisdiction over the state law claims, severed these claims, and remanded the

claims to state court.

          In reaching its decision, the Crocker Court provided the following reasons: (1) thousands

of plaintiffs filed exclusively state law claims against the defendant in state court, (2) plaintiffs

had pending trial dates in state court, (3) plaintiffs’ claims had been pending for about three

years, (4) if the cases were not remanded, trials would be significantly delayed, (5) none of the

plaintiffs had asserted claims against the federal defendant or relative to the federal jurisdictional

basis, (6) the state claims substantially predominated over the lone federal claim, (7) fairness to

the litigants dictates remand for trial, (8) significant discovery on plaintiffs’ claims had been

conducted, and (9) the third party plaintiff would not be prejudiced by the severance because it

still retained the right to pursue its third party claims. Id. at 1329-31.

          Consistent with Crocker, the district court in Genusa v. Asbestos Corp., Ltd., 18

F.Supp.3d 773, 776, 789 (M.D. La. 2014), declined to exercise supplemental jurisdiction over

the plaintiff’s main demands, which were originally brought in state court and only raised state




                                                        10
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page11
                                                                   13ofof23
                                                                          27




court claims, and severed and remanded plaintiff’s claims from the third party claims that raised

the lone federal claims in the case. The Genusa court noted that removal of the case occurred

just months before the state court trial scheduled for plaintiff’s state law claims.

       Likewise, the district court in Madden v. Able Supply Co., 205 F.Supp.2d 695, 702-03

(S.D. Tex. 2002), declined to exercise supplemental jurisdiction over plaintiff’s state law claims

and severed and remanded these claims to state court where the plaintiff brought numerous state

law claims and only a lone federal claim, the state law claims had been pending in state court for

nearly two years, plaintiff elected to bring her claims in state court, the parties had spent

considerable time and money preparing for a state court trial, and the state court trial setting was

less than eight weeks away.

       Most, if not all, of the same factors these courts used to justify declining supplemental

jurisdiction are also present in this case and warrant declination of supplemental jurisdiction over

Plaintiffs’ claims against the SWB.

                               2. The Court Should Decline to               Exercise   Supplemental
                                  Jurisdiction Over Plaintiffs’ Claims

       The Court may decline to exercise supplemental jurisdiction over Plaintiffs’ claims when

even a single factor for declination is present; here, at least four factors are present that warrant

the Court’s declination of supplemental jurisdiction over Plaintiffs’ claims: (1) Plaintiffs’ claims

against the SWB substantially predominate over the SWB’s third party claims against the

Contractors; (2) the Court and the Fifth Circuit have already dismissed the only claims providing

a basis for federal jurisdiction – the SWB’s third party claims against the Contractors; (3)

judicial economy and fairness to Plaintiffs are served by this Court’s declination of supplemental

jurisdiction; and (4) the SWB has manipulated the forum for Plaintiffs’ claims by alleging third




                                                       11
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page12
                                                                   14ofof23
                                                                          27




party claims against the Contractors that the SWB knows are frivolous and have already been

dismissed by the Court and the Fifth Circuit.

                                   a.      Plaintiffs’ Claims Against the SWB Substantially
                                           Predominate Over the SWB’s Third Party Claims
                                           Against the Contractors

       “A state claim substantially predominates if it ‘constitutes the real body of a case, to

which the federal claim is only an appendage.’” Lang v. DirecTV, Inc., 735 F.Supp.2d 421, 428

(E.D. La. 2010) (quoting United Mine Workers of Am. v. Gibbs, 383 U.S. 717, 727 (1966)).

Substantial predominance in this context covers terms of proof, scope of issues raised, and

comprehensiveness of remedies sought. Id.

       As a matter of simple accounting, Plaintiffs’ claims against the SWB substantially

predominate over the SWB’s third party claims.             Plaintiffs are currently comprised of

approximately 250 individuals and businesses that allege three separate, state law claims –

inverse condemnation, strict liability, and negligence – against the SWB. Thus, as a rough

estimate, the SWB is defending against 750 claims of Plaintiffs. In contrast, the SWB’s third

party claims against the Contractors involve three distinct legal claims – indemnification by law,

contribution through subrogation, and breach of contract – against the three Contractors, or

stated another way, a mere nine separate legal claims are at issue in the third party demand and

these claims are the only claims that provide a basis for federal jurisdiction.

       Furthermore, and as discussed in more detail below, Plaintiffs’ claims against the SWB

substantially predominate because the SWB’s third party claims against the Contractors are not

viable, as this Court has previously dismissed with prejudice the exact third party claims now

before the Court a second time. Thus, under this view, Plaintiffs’ claims number almost 750

individual claims, while the SWB has zero claims against the Contractors.




                                                      12
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page13
                                                                   15ofof23
                                                                          27




       The SWB’s third party claims against the Contractors can again be easily dismissed

through motion practice before this Court. The discovery necessary to resolving the Contractors’

federal contractor immunity defense has already been conducted and extensive briefing has

already been submitted to and resolved by this Court. Notably, the Fifth Circuit just affirmed

this dismissal. Thus, the “real body” of this case is the Plaintiffs’ claims against the SWB,

claims that are numerous and require significant time and resources to resolve.

       While discovery for resolution of the SWB’s third party claims against the Contractors is

already complete and resolution of these claims are again ripe for review, hundreds of Plaintiffs’

claims still have yet to be subjected to discovery, including but not limited to written discovery,

depositions, and property inspections. This discovery is entirely separate from the discovery

already conducted for the SWB’s third party claims. The SWB’s third party claims were

resolved without reliance on any evidence from the Plaintiffs, including Plaintiff discovery,

deposition testimony, or property inspections. Thus, discovery and evidence for the direct claims

and third party claims are not common or overlapping.

       Likewise, while the SWB’s third party claims have already been resolved by motion

practice and undoubtedly will be again, the Plaintiffs have yet to have a single trial of their

claims against the SWB. Thus, over two years into this litigation, Plaintiffs and the SWB still

face a multitude of trials of the hundreds of Plaintiffs’ claims, while the third party claims were

quickly and easily disposed of; this further demonstrates the lack of overlap and relatedness

between the Plaintiffs’ claims and the SWB’s third party claims.

                                  b.     The Court has Already Dismissed the Only Claims
                                         Providing Federal Jurisdiction – the SWB’s Third
                                         Party Claims Against the Contractors




                                                     13
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page14
                                                                   16ofof23
                                                                          27




       As this Court is well aware, it has already dismissed with prejudice the SWB’s third party

claims against the Contractors based upon federal contractor immunity, and the Fifth Circuit

recently affirmed this dismissal. When this dismissal occurred at the end of 2016, the Court then

remanded the only remaining claims – Plaintiffs’ claims against the SWB. Thus, since the Court

has already dismissed the only claims providing federal jurisdiction, and the Court is

undoubtedly going to proceed in the same fashion with regard to the SWB’s “new” third party

claims against the Contractors, there will again be no basis for federal jurisdiction of this case.

       Since the original Petition in this matter, Plaintiffs have alleged continuing tort damages

against the SWB arising from the SELA Project; these allegations continued with Plaintiffs’

most recent Fourth Amended and Supplemental Petition, which added 51 additional named-

Plaintiffs to the case. The SWB’s newest third party claims against the Contractors in response to

this amendment are based on the SWB’s mistaken belief that this Court’s previous order

dismissing claims against the Contractors was limited to the time period through the date of the

Third Amended Complaint filed on June 16, 2016. Rather, Plaintiffs’ claims are continuing

claims, the SELA Project-caused damages are ongoing, and all of the new 51 named-Plaintiffs

are neighbors to the existing Plaintiffs and have suffered alongside one another, under the same

Project conditions and hazards. There is nothing to distinguish the new Plaintiff claims from the

existing Plaintiffs’ claims, other than the extent and repair of damages caused by the SELA

Project to their properties. The SWB’s responsibility for these SELA Project damages and the

Contractors’ involvement in the SELA Project relative to the damages remain unchanged from

one Plaintiff to the next, regardless of when that Plaintiff was added to the case.

       Furthermore, the Contractors’ immunity from the SWB’s third party claims and the

timing of when this immunity was determined by the Court are entirely irrelevant to resolution of




                                                       14
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page15
                                                                   17ofof23
                                                                          27




Plaintiffs’ damages claims against the SWB. This was already demonstrated during the first

removal of the case to this Court. The Court resolved the Contractors’ federal contractor

immunity defense without resolving the Plaintiffs’ claims or delving into the elements of or

evidence pertaining to Plaintiffs’ claims. The SWB is attempting to impose artificial limitations

on Plaintiffs’ damage claims in an effort to justify its third party claims that the SWB knew

would result in removal, further delay of Plaintiffs’ claims, and ultimately dismissal by the

Court. Because the Court will undoubtedly dismiss the SWB’s third party claims against the

Contractors once again and on the very same grounds as the previous dismissal, there is no

legitimate basis for federal jurisdiction over this case since the third party claims provide the sole

basis for being in this Court.

                                   c.      Judicial Economy & Fairness are Served by
                                           Declination of Jurisdiction Over Plaintiffs’ Claims
                                           Against the SWB

       The procedural history of this case demonstrates the waste of judicial resources and

unfair treatment of Plaintiffs that have resulted from the removal, remand, and removal of

Plaintiffs’ claims against the SWB over the course of the last 28 months.

       Plaintiffs’ claims against the SWB are purely state law claims and 28 months ago

Plaintiffs filed these claims properly in state court, hoping for a fair and timely resolution of

these claims. Instead, Plaintiffs’ claims were removed to this Court, and despite Plaintiffs’ best

efforts, the case remained in federal court for well over a year. While the case was in this Court,

efforts of counsel and the Court were largely focused on the resolution of the SWB’s third party

claims against the Contractors, with hundreds of thousands of pages of discovery exchanged,

numerous depositions taken, extensive briefing filed, and oral arguments devoted to the

Contractors’ federal contractor immunity defense. During this same time period, discovery on




                                                      15
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page16
                                                                   18ofof23
                                                                          27




Plaintiffs’ claims was conducted; numerous dispositive motions affecting Plaintiffs’ claims were

extensively briefed, but not resolved; mediation was cancelled unilaterally by the SWB; and

trials were never conducted due to the Court’s dismissal of the SWB’s claims against the

Contractors and the subsequent remand of Plaintiffs’ claims to state court.

       The momentum Plaintiffs enjoyed in this Court through the expedited discovery,

mediation, and trial schedule came to a screeching halt when the case was remanded back to

state court. Plaintiffs attempted to keep their claims in this Court due to the significant efforts

expended under the DSO, but this attempt failed and Plaintiffs’ claims were remanded to state

court. Plaintiffs expended significant time, money, and resources in pursuing their claims in this

Court prior to remand.

       Once Plaintiffs returned to state court they faced further delay of their claims,

approximately five to six months, due to a pending judicial assignment that came only after a

judicial election and subsequent run-off.     However, upon assignment to a judicial section,

Plaintiffs’ claims quickly picked up momentum again as the state court heard exceptions and

motions, issued the CMO, and selected a trial date for January 2018 of the five Plaintiffs’ claims.

Then, eight months after remand and mere days before the state court was to hear Plaintiffs’

motion to sever their claims from the SWB’s third party demand, the entire case, including

Plaintiffs’ claims, was removed to this Court for a second time.

       Now Plaintiffs’ claims are again before this Court and Plaintiffs face the prospect of

having to start, for the third time, with discovery of their claims, filing dispositive motions,

pretrial preparation, and trial of their claims. The burden imposed on Plaintiffs due the “yo-

yoing” of their claims between state and federal court has been onerous. Plaintiffs have been

living and working in properties damaged by the SWB’s SELA Project for a long as six years




                                                     16
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page17
                                                                   19ofof23
                                                                          27




and first filed their claims against the SWB for these damages well over two years ago, yet

Plaintiffs have not had a single trial, settlement conference, or mediation. Instead, the SWB and

the Contractors have monopolized the time and resources of the courts in discovering and

resolving the federal contractor immunity issue, while Plaintiffs have been sidelined.

        Not only have Plaintiffs been treated unfairly as a result of the procedural posturing

arising from the SWB’s third party claims, but this Court and the state court have expended

significant judicial resources on this litigation, yet the case still remains on their dockets with no

end in sight. If every time the Plaintiffs amend their claims to add additional named-plaintiffs,

the SWB files the same third party claims against the Contractors, triggering federal jurisdiction

and subsequent dismissal of the SWB’s third party claims on federal contractor immunity

grounds, Plaintiffs’ claims will continue to bounce back-and-forth between state and federal

court. The state court has agreed to hold the January 2018 trial date for Plaintiffs until the

resolution of the remand issue; Plaintiffs plead with the Court to remand the case to allow

Plaintiffs to finally have their day in court, albeit almost three years after first filing suit.

                                     d.      Third Party Plaintiff SWB Manipulated the Forum
                                             by Alleging Already Dismissed Claims Against the
                                             Contractors

        The SWB brought the most recent, frivolous, third party claims against the Contractors in

an effort to manipulate the forum for this litigation and inject onerous delay into resolution of

Plaintiffs’ claims.

        The SWB is well aware that its claims against the Contractors are meritless. The SWB

has been sued by property owners as a result of damages caused by the SELA Project’s earlier

phases; the SWB has in turn alleged third party claims against its contractors on the Project; and

these contractors have been dismissed from the case on federal contractor immunity grounds.




                                                         17
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page18
                                                                   20ofof23
                                                                          27




See Holzenthal, Shimon, supra. Despite knowing that the Contractors enjoy immunity from its

SELA Project claims, the SWB proceeded to file its third party claims against the Contractors

not only once, but now twice, and history has repeated itself. In November 2016, after extensive

discovery, briefing, and oral arguments, this Court dismissed the Contractors from the case with

prejudice on, to no surprise, federal contractor immunity grounds.          The Fifth Circuit just

affirmed this dismissal.

       Then, after Plaintiffs’ claims against the SWB were finally set for trial in state court and

discovery was underway, the SWB again brought third party claims against the Contractors, the

very claims that have already been dismissed with prejudice by this Court. The SWB knew

alleging these claims, which are barred by res judicata, would trigger removal by the Contractors

and, in fact, the Contractors did remove these claims. Plaintiffs’ claims have once again been

removed to a forum where Plaintiffs must start over in terms of discovery, pretrial deadlines,

motion practice, and trial.

       The SWB has attempted to delay resolution of Plaintiffs’ claims throughout this

litigation. The SWB brought frivolous claims against the Contractors that undoubtedly would be

dismissed, but not after extensive discovery and motion practice.           The SWB unilaterally

cancelled Court-ordered mediation of Plaintiffs’ claims last December, despite being party to the

DSO and participating in the pre-mediation discovery and process. Once the case was remanded

back to state court, the SWB again brought its frivolous third party claims, knowing these claims

would trigger removal and thus, delay of Plaintiffs’ claims. In fact, immediately after the

removal papers were filed, the SWB directed third parties to not respond to Plaintiffs’ subpoenas

issued in state court, with returns due on the date of removal. The SWB has also evidenced its

delay strategy by, among other actions, indicating its intent to file untimely writs on exceptions it




                                                      18
    Case
     Case2:21-cv-00534-MLCF-JVM Document 5-1
          2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                               Filed08/29/17
                                                     06/04/21 Page
                                                               Page19
                                                                    21ofof23
                                                                           27




lost, declining to participate in pretrial discovery, and seeking unreasonable extensions on its

expert report deadlines. Plaintiffs should not be subjected to this treatment by the SWB and

instead should be allowed to finally proceed to trial in state court against the SWB in January

2018.

                 B.       The Court Should Sever Plaintiffs’ Claims Against the SWB &
                          Remand the Claims to State Court

                             1. Applicable Law on Severance & Remand

        A district court has broad discretion to sever and remand claims. Anderson v. Red River

Waterway Com’n, 231 F.3d 211, 214 (5th Cir. 2000). Severance of claims is authorized by

Federal Rules of Civil Procedure 14(a)(4) and 21, and remand is governed by 28 U.S.C. §

1447(c). Under Section 1447(c), ‘[i]f at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the case shall be remanded.”2

        In determining whether to sever a claim, a district court may consider the following

factors: (1) whether the claims arise from the same transaction or occurrence, (2) whether the

claims have common questions of law or fact, (3) whether settlement or judicial economy is

promoted by severance, (4) whether prejudice will result or be averted by severance, and (5)

whether different or same witnesses and proof are required by the claims. E. Cornell Malone

Corp. v. Sisters of the Holy Family, St. Mary’s Academy of the Holy Family, 922 F.Supp.2d 550,

561 (E.D. La. 2013).

                             2. The Court Should Sever & Remand Plaintiffs’ Claims




        2
           Section 1774(c) also provides: “An order remanding the case may require payment of just costs and any
actual expenses, including attorney fees, incurred as a result of removal.” If the Court indeed remands the case back
to state court for the second time, Plaintiffs seek payment of costs and attorneys’ fees from the SWB for raising
frivolous third party claims against the Contractors solely for the purpose of providing a basis for removal by the
Contractors and against the Contractors for breaching their agreement to Plaintiffs that they would wait until the
expedited hearing on Plaintiffs’ motion to sever in state court prior to removing the case to this Court.


                                                              19
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page20
                                                                   22ofof23
                                                                          27




       For the same reasons as discussed above with regard to supplemental jurisdiction, this

Court should also sever Plaintiffs’ claims from the SWB’s third party claims, and remand

Plaintiffs’ claims to state court. In summary, the following reasons support severance and

remand.

       Plaintiffs’ claims are purely state law claims, arising from constitutional and tort issues,

and allege property and related damages caused by the SWB’s SELA Project. In contrast, the

SWB’s third party claims are not viable, as these claims are subject to yet another dismissal with

prejudice on federal contractor immunity grounds, and these claims are independent of Plaintiffs’

claims, arising from contractual, indemnity, and subrogation issues.

       As demonstrated by the history of this case, the SWB’s third party claims can be resolved

without consideration of the legal and factual issues pertaining to Plaintiffs’ claims. Indeed, the

Contractors’ previous federal contractor immunity defense was resolved by this Court through

evaluation of evidence and law that are independent of that pertaining to Plaintiffs’ claims.

       Both settlement and judicial economy are supported by severance and remand. If the

SWB is permitted to continuously delay discovery, motion practice, and trial of Plaintiffs’ claims

by alleging frivolous claims against the Contractors, the SWB will likewise defer any serious

consideration of settlement of Plaintiffs’ claims.     If Plaintiffs’ claims continuously bounce

between state and federal court, the judges, law clerks, and court staff will expend unnecessary

resources and time on Plaintiffs’ claims.

       Further prejudice will result to Plaintiffs if their claims remain in this Court. Plaintiffs

were in the midst of preparing for trial in state court when the case was removed for the second

time. The state court has graciously agreed to hold the January 2018 trial date for Plaintiffs in

case their claims are remanded. Plaintiffs have suffered unreasonable delay and onerous burdens




                                                     20
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page21
                                                                   23ofof23
                                                                          27




in having their claims, due to no fault of their own, delayed by the removal, remand, and removal

at the hands of the SWB and Contractors. Plaintiffs simply seek to have their day in court after

living and working in damaged properties for years on end and patiently waiting over two years

during the course of this litigation to finally have a court resolve their claims.

       Neither the SWB nor the Contractors will suffer prejudice as a result of severance and

remand. The Court will resolve the Contractors’ federal contractor immunity defense and again

dismiss with prejudice the SWB’s third party claims against the Contractors. Allowing the

Plaintiffs to proceed with their claims in state court, when these claims have no bearing

whatsoever on the soon-to-be-dismissed third party claims, will pose no prejudice to the SWB

and Contractors, particularly since these are large entities with numerous counsel of record and

abundant resources.

               C.      Alternatively, if the Court Exercises Supplemental Jurisdiction Over
                       Plaintiffs’ Claims, Jurisdiction Should be Retained Until the Ultimate
                       Conclusion of the Case

       Alternatively, if the Court determines it should exercise supplemental jurisdiction over

Plaintiffs’ claims against the SWB (which Plaintiffs contest), Plaintiffs request that the Court

continue to exercise this jurisdiction through the resolution of Plaintiffs’ claims so as to avoid

any further prejudice and delay to Plaintiffs’ claims. The history of this case demonstrates that

as long as the SWB continues to allege third party claims against the Contractors, the Plaintiffs’

own claims against the SWB will be hijacked back and forth between federal and state court as

these third party claims are alleged, dismissed, alleged, dismissed, and so on. Plaintiffs also

request that if this Court retains Plaintiffs’ claims, then it also set trial of Plaintiffs’ claims for

January 8, 2018, the same date as in state court, and set expedited deadlines for resolving




                                                       21
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page22
                                                                   24ofof23
                                                                          27




dispositive motions, discovery, and settlement conferences/mediation to coincide with this trial

date.

        IV.            CONCLUSION

        For the foregoing reasons, Plaintiffs ask that the Court: (1) decline to exercise

supplemental jurisdiction over Plaintiffs’ claims against the SWB, (2) sever Plaintiffs’ claims

from the SWB’s third party claims against the Contractors, and (3) remand Plaintiffs’ claims to

state court where a trial date of January 2018 is set and allow Plaintiffs to finally have their day

in court after years of delay and prejudice.



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                                                      22
   Case
    Case2:21-cv-00534-MLCF-JVM Document 5-1
         2:17-cv-08128-KDE-DEK Document 21-3 Filed
                                              Filed08/29/17
                                                    06/04/21 Page
                                                              Page23
                                                                   25ofof23
                                                                          27




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                                            ATTORNEYS FOR PLAINTIFFS



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of August 2017, I served a copy of the foregoing on

all counsel of record by filing through the Court’s CMECF e-filing system.


                                              /s/ Alexis A. Butler




                                                    23
   Case 2:21-cv-00534-MLCF-JVM
     Case  2:17-cv-08128-KDE-DEK Document
                                  Document21-3 Filed 08/29/17
                                           5-2 Filed 06/04/21 Page
                                                              Page 1
                                                                   26ofof227




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA



ELIZABETH SEWELL, ET AL.,                      )
                                               )
                                               )
                     Plaintiffs                )
VERSUS                                         ) CIVIL ACTION NO. 17-8128
                                               )
SEWERAGE & WATER BOARD OF                      ) SECTION “N” (3)
NEW ORLEANS,                                   )
                                               )
             Defendant                         )
                                               )


                                  NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that undersigned counsel for Plaintiffs, Elizabeth Sewell, et

al., will submit the accompanying Motion to Sever and Remand for submission before the

Honorable Kurt D. Engelhardt, United States District Judge for the Eastern District of Louisiana,

assigned to this matter, at 500 Poydras St., New Orleans, Louisiana 70130, on the 13th day of

September, 2017.



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   Case 2:21-cv-00534-MLCF-JVM
     Case  2:17-cv-08128-KDE-DEK Document
                                  Document21-3 Filed 08/29/17
                                           5-2 Filed 06/04/21 Page
                                                              Page 2
                                                                   27ofof227




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                                              /s/ Alexis A. Butler




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